     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.1 Page 1 of 43




 1 LAW OFFICES OF RONALD A. MARRON
   RONALD A. MARRON (SBN 175650)
 2 ron@consumersadvocates.com
 3 ALEXIS M. WOOD (270200)
   alexis@consumersadvocates.com
 4
   KAS L. GALLUCCI (SBN 288709)
 5 kas@consumersadvocates.com
 6 ELISA PINEDA (SBN 328285)
   elisa@consumersadvocates.com
 7 651 Arroyo Drive
 8 San Diego, California 92103
   Telephone: (619) 696-9006
 9 Facsimile: (619) 564-6665
10
                       UNITED STATES DISTRICT COURT
11
12             FOR THE SOUTHERN DISTRICT OF CALIFORNIA
13                                         Case No: '22CV289 GPC WVG
14
                                           CLASS ACTION COMPLAINT
15    ADAM BENTE, individually and
      on behalf of all others similarly
16                                         JURY TRIAL DEMANDED
      situated and the general public,
17
18                            Plaintiff,
19                      v.
20
      UKG, INC.,
21
22                            Defendant.
23
24
25
26
27
28



                                                       CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.2 Page 2 of 43




 1        Plaintiff ADAM BENTE (“Plaintiff”), individually and on behalf of all others
 2 similarly situated and the general public, by and through undersigned counsel,
 3 hereby brings this Class Action Complaint against Defendant UKG, Inc. (“UKG” or
 4 “Defendant”) to, without limitation, obtain actual and exemplary damages,
 5 injunctive relief, restitution, and obtain a declaration that Defendant’s actions were
 6 unlawful as further set forth below. Plaintiff alleges the following based upon
 7 personal knowledge as to himself and his own acts, and on information and belief as
 8 to all other matters, including, inter alia, any investigation conducted by and through
 9 his attorneys:
10                                  INTRODUCTION
11        1.     Plaintiff brings this class action against UKG for its failure to
12 implement and maintain reasonable security procedures and practices with respect
13 to the sensitive and confidential personal information UKG obtains from its
14 customers’ employees; the consequent data breach of its systems that began in
15 December of 2021; and the resultant shut down of payroll services that is ongoing
16 as of the filing of this Class Action Complaint.
17        2.     UKG is one of the world’s biggest workforce management software
18 companies. The company collects, stores, and processes data for thousands of
19 companies and millions of workers. UKG’s clients broadly range between corporate
20 and public organizations, including the likes of PepsiCo, Tesla, GameStop, the
21 University of California system, the County of Santa Clara, and many private and
22 public hospital and healthcare organizations.
23        3.     As a result of its lack of adequate security measures, UKG was attacked
24 by hackers who launched a ransomware attack on UKG’s timekeeping system,
25 Kronos Private Cloud, on or around December 11, 2021.
26        4.     The data breach exposed millions of workers’ sensitive and confidential
27 personal identifying information (“PII”) to cybercriminals.
28        5.     To make matters worse, the attack also crippled timekeeping and
                                              1
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.3 Page 3 of 43




 1 payroll systems, resulting in workers not being paid, being paid late, or being paid
 2 incorrectly.
 3        6.      The timing of the data breach could not have come at a worse time,
 4 leaving many employees to worry over their privacy and paychecks during the peak
 5 of the holiday season as well as the latest surge of the COVID-19 pandemic.
 6        7.      Many of the affected organizations include hospitals and healthcare
 7 systems, including Plaintiff’s employer, Family Health Centers of San Diego
 8 (“FHCSD”), a nonprofit clinic provider of health care dedicated to providing
 9 affordable health care and support services.
10        8.      FHCSD provides care to over 227,000 patients each year, of whom 91%
11 are low income and 29% are uninsured. FHCSD is one of the largest community
12 clinic providers in the nation, operating 58 clinics across San Diego County.
13        9.      As a result of UKG’s payroll services going offline, all FHCSD
14 employees were delayed payment of their paychecks.
15        10.     All FHBCSD employees were forced to find alternative sources of
16 income to pay their bills, mortgages, and necessities, again during the midst of the
17 holiday season.
18        11.     Even after FHCSD got around to distributing paychecks to its
19 employees, many FHCSD employees were either paid inaccurately and/or not at all.
20        12.     In the months following the data breach, all FHCSD employees have
21 had to invest significant time and expense into determining the amount of any unpaid
22 wages, bonuses, and/or paid time off.
23        13.     In addition to their paychecks being affected, Plaintiff’s and all FHCSD
24 employees’ sensitive and confidential PII was obtained by unauthorized hackers and
25 sold on the dark web. As a result, FHCSD employees not only have to deal with the
26 loss of wages and the resulting consequences, but also have had to invest time and
27 money into securing their personal and financial information.
28        14.     Plaintiff brings this class action to redress these injuries, on behalf of
                                               2
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.4 Page 4 of 43




 1 himself and on behalf of individuals similarly situated and the general public.
 2                                       PARTIES
 3        15.    Plaintiff Adam Bente is a citizen and resident of the State of California.
 4 Plaintiff is an employee of Family Health Centers of San Diego. Plaintiff has been
 5 employed by FHCSD as a business analyst since 2017.
 6        16.    Defendant UKG, Inc. is a corporation formed under the laws of the
 7 State of Delaware, with dual corporate headquarters in Weston, Florida and Lowell,
 8 Massachusetts.
 9                            JURISDICTION AND VENUE
10        17.    This Court has subject matter jurisdiction over this action pursuant to
11 28 U.S.C. § 1332(d), because at least one member of the Class, as defined below is
12 a citizen of a different state than UKG, there are more than 100 members of the
13 Classes, and the aggregate amount in controversy exceeds $5,000,000, exclusive of
14 interests and costs.
15        18.    The Court has general personal jurisdiction over UKG because, at all
16 relevant times, UKG has had systematic and continuous contacts with the State of
17 California. UKG is registered to do business in California with the California
18 Secretary of State under entity number C2111426. UKG regularly contracts with a
19 multitude of businesses and organizations in California to provide continuous and
20 ongoing human resource services, including timekeeping and payroll services.
21        19.    This Court has specific personal jurisdiction over UKG because
22 Plaintiff’s claims arise from UKG’s specific contacts with the State of California –
23 namely, UKG’s provision of payroll and other human resource services to a
24 multitude of companies in California, UKG’s failure to implement and maintain
25 reasonable security procedures and practices with respect to that data, and the
26 consequent connection with such services.
27        20.    Venue is proper in this Southern District of California pursuant to 28
28 U.S.C. § 1391(b)(2) because the injury in this case substantially occurred in this
                                              3
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.5 Page 5 of 43




 1 District.
 2                             FACTUAL ALLEGATIONS
 3         21.    UKG Inc. (an acronym for Ultimate Kronos Group) is a workforce
 4 management software company that provides human resource services, including
 5 timekeeping and payroll services, to companies across the globe. Among the many
 6 products and services that it offers, UKG provides software known as the “Kronos
 7 Private Cloud” and “UKG Workforce Central,” which are timekeeping and payroll
 8 services.
 9         22.    UKG was formed as a result of a $22 billion merger in 2020 between
10 Ultimate Software and Kronos. The company has 13,000 employees across the
11 globe, and amidst a global pandemic, was able to generate over $3 billion in revenue
12 in its first year of business. It is one of the largest cloud computing companies in the
13 world and a leading global provider of workforce management services.
14         23.    UKG provides its timekeeping and payroll services to a multitude of
15 companies and organizations, including many that operate in California, the like of
16 which include but are not limited to, PepsiCo, Tesla, GameStop, the University of
17 California system, the County of Santa Clara, and many private and public hospital
18 and healthcare organizations, including FHCSD. UKG provides timekeeping and
19 payroll services to thousands of employers.
20         24.    In connection with those services, UKG collects, stores, and processes
21 sensitive personal data for thousands of companies and millions of workers. Prior to
22 the data breach, UKG had enacted a privacy notice in which it states UKG collects
23 PII of individuals from a variety of sources, including directly from its customers
24 and their employees. The privacy notice contains a section entitled “Customers’
25 Information [and the Information of Their Employees and Job Applicants]”, which
26 states that UKG collects data including, but not limited to “name, company name,
27 address, email address, time and attendance and schedule information, and Social
28 Security      Numbers.”    See   Exhibit     1   [UKG     privacy    notice].   Source:
                                               4
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.6 Page 6 of 43




 1 https://www.ukg.com/privacy.
 2        25.    UKG also collects banking information in connection with its provision
 3 of direct deposit payroll processes as well as employee identification numbers. For
 4 example, under “Use of Personal Information”, under the subsection titled
 5 “Customers’ Information (and the Information of Their Employees),” UKG’s
 6 privacy notice states UKG uses the PII of its customers’ employees to provide its
 7 customers with services. See Exhibit 1.
 8        26.    UKG’s website indicates that its services, among other things, allows
 9 its customers to ensure accurate, on-time pay and to quickly generate payroll
10 documents, such as paychecks and direct-deposit files.
11        27.    On December 13, 2021, UKG posted an announcement regarding the
12 data breach on its website. The announcement confirmed that that a ransomware
13 attack was made on UKG’s Kronos Private Cloud. The Kronos Private Cloud
14 includes Defendant’s UKG Workforce Central, UKG TeleStaff, Healthcare
15 Extensions, and Banking Scheduling Solutions. UKG further claimed that the data
16 breach did not affect UKG Pro, UKG Ready, UKG Dimensions, or any other UKG
17 product or solutions. Defendant confirmed that as a result of the attack, Kronos
18 Private Cloud solutions was offline.
19        28.    UKG advised its customers “that it may take up to several weeks to
20 restore system availability,” and that as such, the company “strongly recommends
21 that [customers] evaluate and implement alternative business continuity protocols
22 related to the affected UKG solutions.” 1
23        29.    On December 17, 2021, Defendant then posted on its website “New
24 Questions & Answers for Impacted and Non-Impacted Customers” that, among
25
26
     UKG Workforce Central – Leo Daley, Communications sent to impacted Kronos
     1

27 Private Cloud (KPC) customers beginning December, 13 at 12:45AM ET, UKG,
28 https://community.kronos.com/s/feed/0D54M00004wJKHiSAO?language=en_US
   (last visited Mar. 4, 2022).
                                         5
                                                     CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.7 Page 7 of 43




 1 other things, stated the following question and answer:
 2         Precisely what information was accessed or exposed?
 3         Our investigation is ongoing and we are working diligently to
 4         determine if customer data has been compromised.2

 5         30.   On December 28, 2021, UKG finally acknowledged the potential
 6 exposure of sensitive employee PII as follows:
 7
        Regarding data exfiltration - our investigation is still ongoing and we
 8      are working diligently with cybersecurity experts to determine whether
 9      and to what extent sensitive customer or employee data has been
        compromised. As is typical in ransomware incidents, it may take
10
        several more weeks or more to fully determine whether a specific
11      customer's sensitive data (and what kind of data) may have
12      been compromised. If we learn that sensitive customer business data
        and/or employee data (PII) was exposed because of this attack, we will
13      meet any obligations we have to inform affected customers and take
14      appropriate steps to protect affected individuals.3
15
           31.   On January 22, 2022, UKG posted an update to its website stating that
16
     “[b]etween January 4 and January 22, all affected customers in the Kronos Private
17
     Cloud were restored with safe and secure access to their core time, scheduling, and
18
     HR/payroll capabilities. We are now focused on the restoration of supplemental
19
     features and non-production environments and are extraordinarily grateful for the
20
     patience and partnership our customers have shown.”4
21
           32.   UKG’s carefully worded announcement failed to clarify that UKG’s
22
23
     2
     New Questions & Answers for Impacted and Non-Impacted Customers as of
24 12/17/2021 at 2:30pm ET, UKG, https://www.ukg.com/KPCupdates/Archive (last
25 visited Mar. 4, 2022).
26
   3
          Status      Update  as      of      Dec       28,      2022,     UKG,
   https://www.ukg.com/KPCupdates/Archive (last visited Mar. 4, 2022).
27 4       Status     Update  as      of      Jan       22,      2022,     UKG,
28 https://www.ukg.com/KPCupdates/Archive (last visited Mar. 4, 2022) (emphasis in
   original).
                                        6
                                                        CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.8 Page 8 of 43




 1 payroll services were still not fully operational, and as a result, many FHCSD
 2 employees’ paychecks continued to be paid late, inaccurately, and/or not at all.
 3         33.   UKG confirmed as such on February 11, 2022, when it announced that
 4 only the first phase of the restoration process was complete and that many of Kronos
 5 Private Cloud applications, such as Citrix, Workforce Analytics, and non-production
 6 environments, were still offline.5
 7         34.   The February 11, 2022, announcement went on to state that UKG had
 8 discovered and notified customers whose personal data of its employees “was
 9 exfiltrated.” 6
10         35.   UKG claimed the theft of personal data was contained to employees of
11 only two of its customers, however, in the same announcement, UKG admits its
12 forensic investigation is still ongoing.7
13         36.   The announcement provided a link for use only by its customers to
14 obtain further information on UKG’s investigation and security practices. 8 Upon
15 information and belief, this information was not shared with the employees of
16 UKG’s customers who were affected by the data breach.
17         37.   As of the filing of this complaint, news sources have confirmed that
18 PUMA North America, Inc. (“Puma”) is one of the affected customers. A data
19 breach notification submitted by Puma to the Office of the State Attorney General
20 of Maine states the personal data of over 6,632 individuals was stolen in the attack
21 on UKG’s Kronos Private Cloud software.9
22         38.   A sample notification letter to affected employees of Puma from UKG
23
     5
           Status    Update       as     of      Feb    11,      2022,    UKG,
24 https://www.ukg.com/KPCupdates/Archive (last visited Mar. 4, 2022).
25 6 Id.
   7
26 8 Id.
     Id.
27 9 Data Breach Notifications, OFFICE OF THE MAINE ATTORNEY GENERAL,
28 https://apps.web.maine.gov/online/aeviewer/ME/40/10394643-6f4e-49ff-884a-
   9977602932a9.shtml (last visited Mar. 4, 2022).
                                           7
                                                        CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.9 Page 9 of 43




 1 again confirms that UKG’s investigation is still ongoing, and that up to now, UKG
 2 can only confirm “that a malicious actor or actors accessed the cloud-based
 3 environment earlier in 2021 [and] stole data from that environment and encrypted
 4 the environment.” Under a section titled “What Information Was Involved?”, the
 5 sample letter states “[t]he personal information involved included your [Extra2]” but
 6 does not state what information was stolen.10
 7        39.    To date, UKG has not confirmed what information was stolen.
 8        40.    Online sources indicate that PepsiCo employees’ PII was also stolen
 9 during the data breach. PepsiCo employees impacted by the breach have reported
10 hacking of their banking information in the weeks following the breach.
11 Furthermore, Twitter users have likewise reported that as a result of the UKG
12 security breach, hackers obtained workers’ phone numbers and began phishing
13 scams. For example, on December 26, 2021, at 1:58 P.M., Twitter user @_genosis_
14 tweeted: “For all those who have been affected by the Kronos hack please be aware
15 of this. They have already managed to scam a couple hundred employees from
16 another company so be on the look out!” That twitter user posted an image of a text
17 chain stating:
18
19        Hey Team just a heads up. My sister in law is the HR director [for]
          Gatorade. They too have been hit by the KRONOS outage. She let me
20        know yesterday that the people that hacked kronos did in fact get
21        employee phone #’s and names. They are now calling
          PepsiCo/Gatorade employees and saying their work for kronos and are
22
          calling to verify employee info. They have managed to scam a couple
23        hundred employees already. Make sure your teams [know] that there is
24        ZERO reason anyone would ever call them and [ask] for their info.

25
26   10
            UKG          Sample      Data   Breach   Notification   Letter,
27 file:///C:/Users/elisa/Downloads/EXPERIAN_H4870_UKG-
28 Puma_L03_Proof%20Multi%20and%20L04_Dep%20Multi.pdf (last visited Mar.
   4, 2022).
                                          8
                                                    CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.10 Page 10 of 43




 1            41.   Upon information and belief, the hackers responsible for the data
 2 breach stole the PII of all employees of UKG’s customers.
 3            42.   UKG’s website provides the following with regard to its Kronos Private
 4 Cloud software: “At Kronos, data security is a top priority. Our Chief Information
 5 Security Officer is the designated management representative responsible for
 6 implementing policies and procedures to protect and safeguard our customers’
 7 workforce data.”11
 8            43.   Upon information and belief, UKG’s Chief Information Security
 9 Officer is John McGregor.
10            44.   The FBI created a technical guidance document for Chief Information
11 Officers and Chief Information Security Officers that complies already existing
12 federal government and private industry best practices and mitigation strategies to
13 prevent and respond to ransomware attacks. The document is titled How to Protect
14 Your Networks from Ransomware and states that on average, more than 4,000
15 ransomware attacks have occurred daily since January 1, 2016. Yet, there are very
16 effective prevention and response actions that can significantly mitigate the risks.12
17            45.   Preventative measure include:
18
           • Implement an awareness and training program. Because end users are
19           targets, employees and individuals should be aware of the threat of
20           ransomware and how it is delivered.
21         • Enable strong spam filters to prevent phishing emails from reaching the end
             users and authenticate inbound email using technologies like Sender Policy
22           Framework (SPF), Domain Message Authentication Reporting and
23           Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
24           prevent email spoofing.
25
26    Security: Kronos private cloud security and workforce ready reliability, KRONOS,
      11

   https://www.kronos.com/security (last visited Mar. 4, 2022).
27 12 How to Protect Your Networks from Ransomware, FBI, https://www.fbi.gov/file-
28 repository/ransomware-prevention-and-response-for-cisos.pdf/view (last viewed
   Mar. 2, 2022).
                                             9
                                                           CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.11 Page 11 of 43




 1          • Scan all incoming and outgoing emails to detect threats and filter executable
              files from reaching end users.
 2
            • Configure firewalls to block access to known malicious IP addresses.
 3          • Patch operating systems, software, and firmware on devices. Consider using
 4            a centralized patch management system.
 5          • Set anti-virus and anti-malware programs to conduct regular scans
              automatically.
 6
            • Manage the use of privileged accounts based on the principle of least
 7            privilege: no users should be assigned administrative access unless
 8            absolutely needed; and those with a need for administrator accounts should
              only use them when necessary.
 9
            • Configure access controls—including file, directory, and network share
10            permissions—with least privilege in mind. If a user only needs to read
11            specific files, the user should not have write access to those files, directories,
12            or shares.
            • Disable macro scripts from office files transmitted via email. Consider using
13            Office Viewer software to open Microsoft Office files transmitted via email
14            instead of full office suite applications.
15          • Implement Software Restriction Policies (SRP) or other controls to prevent
              programs from executing from common ransomware locations, such as
16
              temporary folders supporting popular Internet browsers or
17            compression/decompression programs, including the
18            AppData/LocalAppData folder.
19          • Consider disabling Remote Desktop protocol (RDP) if it is not being used.
            • Use application whitelisting, which only allows systems to execute programs
20            known and permitted by security policy.
21          • Execute operating system environments or specific programs in a virtualized
22            environment.
            • Categorize data based on organizational value and implement physical and
23
              logical separation of networks and data for different organizational units.13
24
25               46.   UKG could have prevented the data breach by properly utilizing best
26 practices as advised by the federal government.
27
28
      13
           Id.
                                                   10
                                                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.12 Page 12 of 43




 1         47.    UKG’s failure to safeguard the PII of employees of Defendant’s
 2 customers is exacerbated by the repeated warnings and alerts from public and private
 3 institutions, including the federal government, directed to protecting and securing
 4 sensitive data. Experts studying cyber security routinely identify companies such as
 5 UKG that collect, process, and store massive amounts of data on cloud-based
 6 systems as being particularly vulnerable to cyberattacks because of the value of the
 7 PII that they collect and maintain. Accordingly, UKG knew or should have known
 8 that it was a prime target for hackers.
 9         48.    According to the 2021 Thales Global Cloud Security Study, more than
10 40% of organizations experienced a cloud-based data breach in the previous 12
11 months. Yet, despite these incidents, the study found that nearly 83% of cloud-based
12 businesses still fail to encrypt half of the sensitive data they store in the cloud.14
13         49.    Upon information and belief, Kronos did not encrypt Plaintiff’s and
14 Class Members’ PII involved in the data breach.
15         50.    Defendant’s knowledge that it was a target of hackers is further
16 underscored by the massive number of ransomware attacks on payroll companies
17 such as UKG.
18         51.    This past November, Frontier Software, a payroll software, experienced
19 a ransomware attack that compromised the sensitive information of between 38,000
20 to 80,000 South Australian government employees. 15
21         52.    In March of 2021, PrismHR, a Massachusetts-based payroll company
22 that services over 80,000 organizations, suffered a massive outage after suffering a
23
24
25    Maria Henriquez, 40% of organizations have suffered a cloud-based data breach,
      14


26 SECURITY, Oct. 29, 2021, https://www.securitymagazine.com/articles/96412-40-of-
   organizations-have-suffered-a-cloud-based-data-breach (last visited Mar. 4, 2022).
27 15 Emily Kuhnert, Payroll Security Breaches, PAPAYAGLOBAL, Feb. 27, 2020,
28 https://papayaglobal.com/blog/list-of-payroll-security-breaches/, (last visited Mar.
   4, 2022).
                                           11
                                                            CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.13 Page 13 of 43




 1 cyberattack on its payroll cloud-based system. 16
 2          53.   In January of 2021, 6,000 employees’ PII was stolen during a
 3 ransomware attack on Arup’s, a UK-based third-party payroll provider. 17
 4          54.   In May of 2020, Interserver, a payroll vendor for Britain’s Ministry of
 5 Defense, was hacked. The hackers obtained the sensitive information of up to
 6 100,000 past and current employees.18
 7          55.   In February of 2020, the Phoenix Pay System fell prey to a data breach
 8 exposing the PII of more than 69,000 Canadian federal employees. 19
 9          56.   Despite knowing the prevalence of data breaches, UKG failed to
10 prioritize data security by adopting reasonable data security measures to prevent and
11 detect unauthorized access to its highly sensitive systems and databases. UKG has
12 the resources to prevent a breach, but neglected to adequately invest in data security,
13 despite the growing number of well-publicized breaches. UKG failed to undertake
14 adequate analyses and testing of its own systems, training of its own personnel, and
15 other data security measures to ensure vulnerabilities were avoided or remedied and
16 that Plaintiff’s and Class Members’ data were protected.
17          57.   As of the date of this Complaint — nearly two months after the breach
18 — UKG’s systems remain disabled, its systems remain unsecured, and the harm
19 resulting from the data breach remains unrectified.
20                            PLAINTIFF’S ALLEGATIONS
21          58.   Plaintiff has worked as a business analyst for the Family Health Centers
22
23
      16
         Lawrence Abrams, Payroll giant PrismHR outage likely caused by ransomware
      attack,         Bleeping         Computer,            Mar.          2,         2021,
24    https://www.bleepingcomputer.com/news/security/payroll-giant-prismhr-outage-
25    likely-caused-by-ransomware-attack/, (last visited Mar. 4, 2022).
      17
26       Id.
      18
          Emily Kuhnert, Payroll Security Breaches, PAPAYAGLOBAL, Feb. 27, 2020,
27    https://papayaglobal.com/blog/list-of-payroll-security-breaches/, (last visited Mar.
28    4, 2022).
      19
         Id.
                                              12
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.14 Page 14 of 43




 1 of San Diego since 2017. Plaintiff’s responsibilities include reviewing and reporting
 2 data to obtain government grants necessary to FHCSD’s mission of providing
 3 affordable health care services to low-income individuals in the San Diego
 4 community. FHCSD is the nation’s tenth largest health center with more than 1,800
 5 dedicated employees.
 6         59.   FHCSD uses Kronos Privates Cloud to process payroll. On December
 7 12, 2021, FHCSD notified its employees that as a result of a malware attack on
 8 UKG’s system, FHCSD’s payroll software was offline. As a direct and foreseeable
 9 result of UKG’s negligent failure to implement and maintain reasonable data
10 security procedures and practices and the resultant breach of its systems, FHCSD’s
11 timekeeping and payroll systems became crippled and remained completely offline
12 for weeks following the data breach. FHCSD lacked an adequate contingency plan
13 to accurately pay workers and was forced to switch to manually inputting payroll.
14         60.   On December 13, 2021, FHCSD notified its employees that employees
15 would need to maintain and submit “manual timesheets” for time worked following
16 the data breach. FHCSD further instructed it employees that for payroll accumulated
17 before December 10, 2021, FHCSD would need to utilize employees’ employment
18 status to process payroll. FHCSD instructed employees who had concerns with this
19 method of calculating payroll to contact FHCSD.
20         61.   Plaintiff, like all Class Members, was delayed payment of his paycheck
21 following the data breach. Following the data breach, Plaintiff’s payroll was
22 scheduled to be processed by December 17, 2021. The resultant shutdown of UKG’s
23 payroll services caused each FHCSD employee, including Plaintiff, to not receive
24 their paycheck until after Christmas. Plaintiff and Class Members had to endure
25 weeks without payment while working during the Omicron surge in the midst of the
26 holiday season.
27         62.   Plaintiff, like all Class Members, has lost time and expenses from
28 having to mitigate the consequences of the delay in payment of his paychecks.
                                            13
                                                            CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.15 Page 15 of 43




 1         63.   Plaintiff, like all Class Members, also had his PII, including but not
 2 limited to his name, company name, address, email address, time and attendance and
 3 schedule information, and Social Security Number, exposed as a result of UKG’s
 4 negligent failure to safekeep his information.
 5         64.   As a direct and foreseeable result of UKG’s negligent failure to
 6 implement and maintain reasonable data security procedures and practices and the
 7 resultant breach of its systems, Plaintiff and Class Members also suffered harm in
 8 that their sensitive PII has been exposed to cybercriminals and they now have an
 9 increased risk and fear of identity theft and fraud.
10         65.   Since the data breach, Plaintiff has received on average, per day 5-6
11 spam calls to his cell phone and countless spam e-mails. Further, shortly after the
12 data breach, Plaintiff received a notification from his credit card company that his
13 Social Security number had been discovered on the dark web. Upon information and
14 belief, Plaintiff’s Social Security number, cell phone number and e-mail address
15 were exfiltrated by the hackers who obtained unauthorized access to Plaintiff’s and
16 Class Members’ PII.
17         66.   Social Security numbers are among the most sensitive kind of personal
18 information to have stolen because they may be put to a variety of fraudulent uses
19 and are difficult for an individual to change. The Social Security Administration
20 stresses that the loss of an individual’s Social Security number, as is the case here,
21 can lead to identity theft and extensive financial fraud:
22
           A dishonest person who has your Social Security number can use it to
23
           get other personal information about you. Identity thieves can use your
24         number and your good credit to apply for more credit in your name.
25         Then, they use the credit cards and don’t pay the bills, it damages your
           credit. You may not find out that someone is using your number until
26         you’re turned down for credit, or you begin to get calls from unknown
27         creditors demanding payment for items you never bought. Someone
           illegally using your Social Security number and assuming your identity
28
                                             14
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.16 Page 16 of 43




 1           can cause a lot of problems.20
 2
             67.     Accordingly, Plaintiff and Class Members have suffered harm in the
 3
      form of increased fear and risk of identity theft and fraud resulting from the data
 4
      breach.
 5
                               CLASS ACTION ALLEGATIONS
 6
             68.     Plaintiff seeks to represent the following Classes:
 7
 8           Nationwide Data Breach Class: All United States citizens whose
             personal information was exposed as a result of the Kronos Data
 9           Breach.
10
             California Data Breach Subclass: All California residents whose
11           personal information was exposed as a result of the Kronos Data Breach
12
             Nationwide Payroll Class: All United States citizens whose paychecks
13
             were paid late, inaccurately, and/or not at all as a result of the Kronos
14           Data Breach.
15
             California Payroll Subclass: All California residents whose
16           paychecks were paid late, inaccurately, and/or not at all as a result of
17           the Kronos Data Breach.
18
             69.     Excluded from the Classes is Defendant and its subsidiaries and
19
      affiliates; all employees of Defendant and its subsidiaries and affiliates; all persons
20
      who make a timely election to be excluded from the Class; Plaintiff’s counsel and
21
      UKG’s counsel and members of their immediate families; government entities; and
22
      the judge to whom this case is assigned, including his/her immediate family and
23
      court staff.
24
25
26     Identity Theft and Your Social Security Number, SOCIAL SECURITY
      20

   ADMINISTRATION,                                                       chrome-
27 extension://efaidnbmnnnibpcajpcglclefindmkaj/viewer.html?pdfurl=https%3A%2F
28 %2Fwww.ssa.gov%2Fpubs%2FEN-05-10064.pdf&chunk=true (last visited Mar. 4,
   2022).
                                          15
                                                        CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.17 Page 17 of 43




 1         70.   Plaintiff reserves the right to modify, expand or amend the above Class
 2 definitions or to seek certification of a class or classes defined differently than above
 3 before any court determines whether certification is appropriate following discovery.
 4         71.   Numerosity: The members of the Class are so numerous that individual
 5 joinder of all Class Members is impracticable. While Plaintiff is informed and
 6 believes that there are likely hundreds of thousands of members in each Class and
 7 Subclass, the precise number of Class Members is unknown to Plaintiff. Class
 8 Members may be identified through objective means including Defendant’s own
 9 records. Class Members may be notified of the pendency of this action by
10 recognized, court-approved notice dissemination methods, which may include U.S.
11 mail, electronic mail, internet postings, and/or published notice.
12         72.   Commonality and Predominance: This action involves common
13 questions of law and fact, which predominate over any questions affecting individual
14 Class Members, including, without limitation:
15         a.    Whether Defendants owed a duty to Plaintiff and Class Members to
16               secure and safeguard their PII;
17         b.    Whether Defendants failed to use reasonable care and reasonable
18               methods to secure and safeguard Plaintiff’s and Class Members’ PII;
19         c.    Whether Defendants properly implemented security measures as
20               required by state law and/or industry standards to protect Plaintiff’s
21               and Class Members’ PII from unauthorized access, capture,
22               dissemination and misuse;
23         d.    Whether Plaintiff and members of the Class were injured and suffered
24               damages and ascertainable losses as a result of Defendants’ actions or
25               failure to act, including but not limited to the exposure of their PII to
26               unauthorized third parties and loss of wages;
27         e.    Whether Defendants engaged in active misfeasance and misconduct
28               alleged herein;
                                              16
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.18 Page 18 of 43




 1         f.    Whether Defendants knew or should have known that its data security
 2               systems and monitoring processes were deficient;
 3         g.    Whether Defendants’ failure to provide adequate security proximately
 4               caused Plaintiff’s and Class Members’ injuries; and
 5         h.    Whether Plaintiff and Class Members are entitled to declaratory and
 6               injunctive relief.
 7         73.   Typicality: Plaintiff is a member of the Classes. Plaintiff’s claims are
 8 typical of the claims of all Class Members because Plaintiff, like other Class
 9 Members, suffered theft of his PII and lost wages as a result.
10         74.   Adequacy of Representation: Plaintiff is an adequate Class
11 representative because he is a member of the Classes and his interests do not conflict
12 with the interests of other Class Members that he seeks to represent. Plaintiff is
13 committed to pursuing this matter for the Classes with the Classes’ collective best
14 interests in mind. Plaintiff has retained counsel competent and experienced in
15 complex class action litigation of this type and Plaintiff intends to prosecute this
16 action vigorously. Plaintiff, and his counsel, will fairly and adequately protect the
17 Class’s interests.
18         75.   Predominance and Superiority: As described above, common issues
19 of law or fact predominate over individual issues. Resolution of those common
20 issues in Plaintiff’s case will also resolve them for the Classes’ claims. In addition,
21 a class action is superior to any other available means for the fair and efficient
22 adjudication of this controversy and no unusual difficulties are likely to be
23 encountered in the management of this class action. The damages or other financial
24 detriment suffered by Plaintiff and other Class Members are relatively small
25 compared to the burden and expense that would be required to individually litigate
26 their claims against UKG, so it would be impracticable for Class Members to
27 individually seek redress for UKG’s wrongful conduct. Even if Class Members
28 could afford individual litigation, the court system could not. Individualized
                                             17
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.19 Page 19 of 43




 1 litigation creates a potential for inconsistent or contradictory judgments and
 2 increases the delay and expense to all parties and the court system. By contrast, the
 3 class action device presents far fewer management difficulties and provides the
 4 benefits of single adjudication, economies of scale, and comprehensive supervision
 5 by a single court.
 6         76.    This class action is also properly brought and should be maintained as
 7 a class action because Plaintiff seeks injunctive relief on behalf of each Class on
 8 grounds generally applicable to each Class. Certification is appropriate because
 9 Defendants have acted or refused to act in a manner that applies generally to the
10 injunctive Class (i.e., Defendants failed to reasonably protect Plaintiff and Class
11 Members’ PII from unauthorized third-party hackers). Thus, any injunctive relief or
12 declaratory relief would benefit the Class as a whole.
13         77.    Plaintiff reserves the right to revise the foregoing class allegations and
14 definitions based on facts learned and legal developments following additional
15 investigation, discovery, or otherwise.
16                                 CLAIMS FOR RELIEF
17                                        COUNT I
18                                     NEGLIGENCE
19                                (On Behalf of all Classes)
20         78.    Plaintiff re-alleges and incorporates by reference all preceding
21 allegations as if fully set forth herein.
22         79.    Given the highly sensitive nature of the PII UKG collects from its
23 employees and the likelihood of harm resulting from its unauthorized access,
24 acquisition, use, or disclosure, UKG owes Plaintiff and Class Members a duty to
25 exercise reasonable care in protecting this information. This duty includes
26 implementing and maintaining reasonable security procedures and practices
27 appropriate to the nature of the PII that were compliant with and/or better than
28 industry-standard practices. UKG’s duties included a duty to design, maintain, and
                                               18
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.20 Page 20 of 43




 1 test its security systems to ensure that Plaintiff’s and Class Members’ PII was
 2 adequately secured and protected, to implement processes that would detect a breach
 3 of its security system in a timely manner, to timely act upon warnings and alerts,
 4 including those generated by its own security systems regarding intrusions to its
 5 networks, and to promptly, properly, and fully notify its customers, Plaintiff, and
 6 Class Members of any data breach.
 7         80.   It was foreseeable to UKG that a failure to use reasonable measures to
 8 protect the highly sensitive and confidential information of its customers’ employees
 9 could result in injury to said employees.
10         81.   Actual and attempted breaches of data security were reasonably
11 foreseeable to UKG given that other payroll companies had recently been breached
12 before as well as the known frequency of data breaches and various warnings from
13 industry experts.
14         82.   In connection with the conduct described above, UKG acted wantonly,
15 recklessly, and with complete disregard for the consequences Plaintiff and Class
16 Members would suffer if their highly sensitive and confidential PII, including but
17 not limited to name, company name, address, email address, time and attendance
18 and schedule information, and Social Security Numbers, was accessed by
19 unauthorized third parties.
20         83.   UKG had a common law duty to prevent foreseeable harm to others.
21 This duty existed because Plaintiff and Class Members were the foreseeable and
22 probable victims of any inadequate security practices. In fact, not only was it
23 foreseeable that Plaintiff and Class Members would be harmed by the failure to
24 protect their PII because hackers routinely attempt to steal such information and use
25 it for nefarious purposes, but UKG also knew that it was more likely than not
26 Plaintiff and other Class Members would be harmed.
27         84.   UKG’s duty also arose under Section 5 of the Federal Trade
28 Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or affecting
                                               19
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.21 Page 21 of 43




 1 commerce,” including, as interpreted and enforced by the FTC, the unfair practice
 2 of failing to use reasonable measures to protect PII by companies such as UKG.
 3         85.   Various FTC publications and data security breach orders further form
 4 the basis of UKG’s duty. According to the FTC, the need for data security should be
 5 factored into all business decision making.21
 6         86.   In 2016, the FTC updated its publication, Protecting Personal
 7 Information: A Guide for Business, which established guidelines for fundamental
 8 data security principles and practices for business.22 Among other things, the
 9 guidelines note that businesses should protect the personal customer information that
10 they keep; properly dispose of PII that is no longer needed; encrypt information
11 stored on computer networks; understand their network’s vulnerabilities; and
12 implement policies to correct security problems. The guidelines also recommend
13 that businesses use an intrusion detection system to expose a breach as soon as it
14 occurs; monitor all incoming traffic for activity indicating someone is attempting to
15 hack the system; watch for large amounts of data being transmitted from the system;
16 and have a response plan ready in the event of a breach. Additionally, the FTC
17 recommends that companies limit access to sensitive data, require complex
18 passwords to be used on networks, use industry-tested methods for security, monitor
19 for suspicious activity on the network, and verify that third-party service providers
20 have implemented reasonable security measures.
21         87.   UKG’s duty also arose from its unique position as one of the largest
22 cloud computing companies in the world whose services constitute a linchpin of the
23 payroll services of a substantial fraction of the nation. As set forth above, the data
24
25    21
        Start with Security, A Guide for Business, FTC (June 2015),
26 https://www.ftc.gov/tips-advice/business-center/guidance/start-security-guide-
   business.
27 22 Protecting Personal Information, A Guide for Business, FTC (Oct. 2016),
28 https://www.ftc.com/system/files/documents/plain-language/pdf-0136_proteting-
   personal-informaiton.pdf.
                                           20
                                                          CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.22 Page 22 of 43




 1 breach herein affected thousands of companies and millions of employees. UKG
 2 undertakes its collection of sensitive PII of employees generally through direct
 3 relationships between UKG and employers, generally without the direct consent of
 4 employees who have no option but to be affected by UKG’s actions. Plaintiff and
 5 Class Members cannot “opt out” of UKG”s activities. UKG holds itself out as a
 6 trusted steward of consumer and employee data, and thereby assumed a duty to
 7 reasonably protect that data. Plaintiff and Class Members, and indeed the general
 8 public, collectively repose a trust and confidence in UKG to perform that
 9 stewardship carefully. Otherwise consumers and employees would be powerless to
10 fully protect their interests regarding their PII, which is controlled by UKG. Because
11 of its crucial role within the payroll system, UKG was in a unique and superior
12 position to protect against the harm suffered by Plaintiff and Class Members as a
13 result of the UKG data breach. By obtaining, collecting, using, and deriving a benefit
14 from Plaintiff’ and Class Members’ PII, UKG assumed legal and equitable duties
15 and knew or should have known that it was responsible for protecting Plaintiff’ and
16 Class Members’ PII from disclosure.
17          88.    UKG admits that it has an enormous responsibility to protect employee
18 data, that it is entrusted with this data, and that it did not live up to its responsibilities
19 to protect the PII at issue here.
20          89.    UKG’s privacy policy has a specific “Security” section which states:
21
            To prevent unauthorized access or disclosure, to maintain data
22          accuracy, and to allow only the appropriate use of your PII, UKG
23          utilizes physical, technical, and administrative controls and procedures
            to safeguard the information we collect.
24
25          To protect the confidentiality, integrity, availability and resilience of
26          your PII, we utilize a variety of physical and logical access controls,
            firewalls, intrusion detection/prevention systems, network and database
27          monitoring, anti-virus, and backup systems. We use encrypted sessions
28          when collecting or transferring sensitive data through our websites.

                                                 21
                                                                   CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.23 Page 23 of 43




 1
           We limit access to your PII and data to those persons who have a
 2         specific business purpose for maintaining and processing such
 3         information. Our employees who have been granted access to your PII
           are made aware of their responsibilities to protect the confidentiality,
 4
           integrity, and availability of that information and have been provided
 5         training and instruction on how to do so.
 6         90.    UKG also had a duty to safeguard the PII of Plaintiff and Class
 7 Members and to promptly notify them and their employers of a breach because of
 8 state laws and statutes that require UKG to reasonably safeguard PII, as detailed
 9 herein, including Cal. Civ. Code § 1798.80 et seq.
10         91.    Timely notification was required, appropriate, and necessary so that,
11 among other things, Plaintiff and Class Members could take appropriate measures
12 to freeze or lock their credit profiles, cancel or change usernames or passwords on
13 compromised accounts, monitor their account information and credit reports for
14 fraudulent activity, contact their banks or other financial institutions that issue their
15 credit or debit cards, obtain credit monitoring services, develop alternative
16 timekeeping methods or other tacks to avoid untimely or inaccurate wage payments,
17 and take other steps to mitigate or ameliorate the damages caused by UKG’s
18 misconduct.
19         92.    UKG also owed a duty to Plaintiff and Class Members to exercise
20 reasonable care to avoid sudden disruption of their human resources services,
21 including their timekeeping and payroll services. UKG undertook of its own volition
22 responsibility to provide continuous and ongoing timekeeping and payroll services
23 to the employers of Plaintiff and Class Members, knowing that such services were
24 for the benefit of making timely wage payments to them, among other things, and
25 that any disruption, particularly any sudden disruption, would cause Plaintiff and
26 Class Members harm.
27         93.    UKG breached the duties it owed to Plaintiff and Class Members
28 described above and thus was negligent. UKG breached these duties by, among other
                                               22
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.24 Page 24 of 43




 1 things, failing to: (a) exercise reasonable care and implement adequate security
 2 systems, protocols and practices sufficient to protect the PII of Plaintiff and Class
 3 Members; (b) prevent the breach; (c) detect the breach while it was ongoing; (d)
 4 maintain security systems consistent with industry standards and necessary to avoid
 5 the disabling of payroll systems for thousands of companies and millions of workers;
 6 (e) disclose that Plaintiff’s and Class Members’ PII in UKG’s possession had been
 7 or was reasonably believed to have been stolen or compromised; and (f) avoid
 8 disruption and continued disruption of its timekeeping and payroll services.
 9         94.   UKG knew or should have known of the risks of collecting and storing
10 PII and the importance of maintaining secure systems, especially in light of the
11 increasing frequency of ransomware attacks on payroll vendors such as UKG.
12         95.   Through UKG’s acts and omissions described in this Complaint,
13 including UKG’s failure to provide adequate security and its failure to protect the
14 PII of Plaintiff and Class Members from being foreseeably captured, accessed,
15 exfiltrated, stolen, disclosed, accessed, and misused, UKG unlawfully breached its
16 duty to use reasonable care to adequately protect and secure Plaintiff’s and Class
17 Members’ PII. UKG further failed to timely and accurately disclose to customers,
18 Plaintiff, and Class Members that their PII had been improperly acquired or accessed
19 and was available for sale to criminals on the dark web. Indeed, Plaintiff and Class
20 Members received no notice of the breach directly from UKG. UKG issued a public
21 statement and in some instances issued notices to its customers (the employers of
22 Plaintiff and Class Members) but failed to adequately describe all types of PII that
23 were exfiltrated, stolen, disclosed, or accessed by the ransomware attackers.
24         96.   UKG further breached its duty to Plaintiff and Class Members to
25 exercise reasonable care to avoid sudden disruption of their human resources
26 services, including their timekeeping and payroll services, by allowing its systems
27 to remain disabled for multiple weeks (and counting) and failing to adequately and
28 timely remedy its security vulnerabilities.
                                            23
                                                            CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.25 Page 25 of 43




 1         97.    But for UKG’s wrongful and negligent breach of its duties owed to
 2 Plaintiff and Class Members, their PII would not have been compromised nor their
 3 timekeeping and payroll services disabled.
 4         98.    As a direct and proximate result of UKG’s negligence, Plaintiff and
 5 Class Members have been injured as described herein, and are entitled to damages,
 6 including compensatory, punitive, and nominal damages, in an amount to be proven
 7 at trial. As a result of UKG’s failure to protect Plaintiff’s and Class Members’ PII,
 8 Plaintiff’s and Class Members’ PII has been accessed by malicious cybercriminals.
 9         99.    Plaintiff’s and the Class Members’ injuries include:
10         a. damages stemming from Plaintiff and Class Members not being fully
11         paid for all time worked, not being paid overtime, being provided
12         inaccurate wage statements or no wage statements at all, not being
13         provided meal and rest breaks or compensation in lieu thereof, all in
14         violation of federal and state laws;
15         b. damages stemming from the fear and anxiety of Plaintiff and Class
16         Members concerning whether they would be fully, timely, and
17         accurately paid for all time worked during the 2021-2022 holiday
18         season, and regarding how long such disruptions to their payroll
19         systems would continue;
20         c. theft of their PII;
21         d. costs associated with requested credit freezes;
22         e. costs associated with the detection and prevention of identity theft
23         and unauthorized use of their financial accounts;
24         f. costs associated with purchasing credit monitoring and identity theft
25         protection services;
26         g. unauthorized charges and loss of use of and access to their financial
27         account funds and costs associated with the inability to obtain money
28         from their accounts or being limited in the amount of money they were
                                              24
                                                                CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.26 Page 26 of 43




 1         permitted to obtain from their accounts, including missed payments on
 2         bills and loans, late charges and fees, and adverse effects on their credit;
 3         h. lowered credit scores resulting from credit inquiries following
 4         fraudulent activities;
 5         i. costs associated with time spent and loss of productivity from taking
 6         time to address and attempting to ameliorate, mitigate, and deal with
 7         the actual and future consequences of the data breach, including finding
 8         fraudulent charges, cancelling and reissuing cards, enrolling in credit
 9         monitoring and identity theft protection services, freezing and
10         unfreezing accounts, and imposing withdrawal and purchase limits on
11         compromised accounts;
12         j. the imminent and certainly impending injury flowing from potential
13         fraud and identity theft posed by their PII being placed in the hands of
14         criminals;
15         k. damages to and diminution of value of their PII entrusted, directly or
16         indirectly, to UKG with the mutual understanding that UKG would
17         safeguard Plaintiff’ and the Class Members’ data against theft and not
18         allow access and misuse of their data by others;
19         l. continued risk of exposure to hackers and thieves of their PII, which
20         remains in UKG’s possession and is subject to further breaches so long
21         as UKG fails to undertake appropriate and adequate measures to protect
22         Plaintiff and Class Members;
23         m. loss of the inherent value of their PII;
24         n. and other significant additional risks of identity theft, financial fraud,
25         and other identity-related fraud in the indefinite future.
26                                         COUNT II
27                                  UNJUST ENRICHMENT
28                                  (On behalf of all Classes)
                                                25
                                                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.27 Page 27 of 43




 1         100. Plaintiff re-alleges and incorporates by reference all preceding
 2 allegations as if fully set forth herein.
 3         101. Plaintiff and Class Members have an interest, both equitable and legal,
 4 in the PII about them that was conferred upon, collected by, and maintained by UGK
 5 and that was ultimately converted, stolen, removed, deleted, exfiltrated, or disclosed
 6 in the UKG data breach. This PII was conferred on UKG in most cases by third
 7 parties, Class Members’ employers, but in some instances directly by Plaintiff and
 8 Class Members themselves.
 9         102. UKG was benefitted by the conferral upon it of the PII pertaining to
10 Plaintiff and Class Members and by its ability to retain and use that information.
11 UKG understood that it was in fact so benefitted.
12         103. UKG also understood and appreciated that the PII pertaining to Plaintiff
13 and Class Members was private and confidential, and its value depended upon UKG
14 maintaining the privacy, security, and confidentiality of that PII.
15         104. But for UKG’s willingness and commitment to maintain its privacy,
16 security, and confidentiality, that PII would not have been transferred to and
17 entrusted with UKG. Further, if UKG has disclosed that its data security measures
18 were inadequate, UKG would not have been permitted to continue in operation by
19 regulators, its shareholders, and participants in the marketplace.
20         105. As a result of UKG’s wrongful conduct as alleged in this Complaint
21 (including among other things its failure to employ adequate data security measures,
22 its continued maintenance and use of the PII belonging to Plaintiff and Class
23 Members without having adequate data security measures, and its other conduct in
24 facilitating the theft of that PII), UKG has been unjustly enriched at the expense of,
25 and to the detriment of, Plaintiff and Class Members. Among other things, UKG has
26 and continues to benefit and profit from the sale of the PII and from its contracts to
27 use that PII to process timekeeping and payroll, while the value to Plaintiff and Class
28 Members has been diminished.
                                               26
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.28 Page 28 of 43




 1         106. UKG’s unjust enrichment is traceable to, and resulted directly and
 2 proximately from, the conduct alleged herein, including the compiling and use of
 3 Plaintiff’s and Class Members’ sensitive PII, while at the same time failing to
 4 maintain that information secure from intrusion and theft by hackers and identity
 5 thieves.
 6         107. Under the common law doctrine of unjust enrichment, it is inequitable
 7 for UKG to be permitted to retain the benefits it received, and is still receiving,
 8 without justification, from Plaintiff and Class Members in an unfair and
 9 unconscionable manner. UKG’s retention of such benefits under circumstances
10 making such retention inequitable constitutes unjust enrichment.
11         108. The benefit conferred upon, received, and enjoyed by UKG was not
12 conferred officiously or gratuitously, and it would be inequitable and unjust for UKG
13 to retain the benefit.
14         109. UKG is therefore liable to Plaintiff and Class Members for restitution
15 in the amount of the benefit conferred on UKG as a result of its wrongful conduct,
16 including specifically the value to UKG of the PII that was stolen and the payroll
17 systems that were compromised in the UKG data breach and the profits UKG is
18 receiving from the use, sale, and processing of that information, including any profits
19 from its timekeeping and payroll services.
20                                       COUNT III
21                              BREACH OF CONTRACT
22    (On behalf of all Nationwide and California Data Breach Class and Subclass)
23         110. Plaintiff re-alleges and incorporates by reference all preceding
24 allegations as if fully set forth herein.
25         111. UKG’s privacy policy is an agreement between UKG and its customers
26 as well as the employees of its customers, who include Plaintiff and Class Members,
27 and who provided their PII to UKG.
28         112. This privacy policy applied to Plaintiff and Class Members who
                                               27
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.29 Page 29 of 43




 1 accepted UKG’s promise and entered into a contract with UKG when they entrusted
 2 their highly sensitive and confidential e-PHI to UKG as part of a transaction for
 3 medical goods and services.
 4         113. Plaintiff and Class Members are entitled to compensatory and
 5 consequential damages as a result of UKG’s breach of contract.
 6                                        COUNT IV
 7        COMMON LAW INVASION OF PRIVACY – INTRUSION UPON
 8                                      SECLUSION
 9 (On behalf of the Nationwide and California Data Breach Class and Subclass)
10         114. Plaintiff re-alleges and incorporates by reference all preceding
11 allegations as if fully set forth herein.
12         115. To assert claims for intrusion upon seclusion, one must plead (1) that
13 the defendant intentionally intruded into a matter as to which plaintiff had a
14 reasonable expectation of privacy; and (2) that the intrusion was highly offensive to
15 a reasonable person.
16         116. UKG intentionally intruded upon the solitude, seclusion and private
17 affairs of Plaintiff and Class Members by intentionally configuring their systems in
18 such a way that left them vulnerable to malware/ransomware attack, thus permitting
19 unauthorized access to their systems, which compromised Plaintiff’s and Class
20 Members’ PII. Only UKG had control over its systems.
21         117. UKG’s conduct is especially egregious and offensive as they failed to
22 have any adequate security measures in place to prevent, track, or detect in a timely
23 fashion unauthorized access to Plaintiff’s and Class Members’ information.
24         118. At all times, UKG was aware that Plaintiff’s and Class Members’ PII
25 in their possession contained highly sensitive and confidential PII, including but not
26 limited to name, company name, address, email address, time and attendance and
27 schedule information, and Social Security Numbers.
28         119. Plaintiff and Class Members have a reasonable expectation in their e-
                                               28
                                                             CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.30 Page 30 of 43




 1 PHI, which contains highly sensitive medical information.
 2           120. UKG intentionally configured their systems in such a way that stored
 3 Plaintiff’s and Class Members’ PII to be left vulnerable to malware/ransomware
 4 attack without regard for Plaintiff’s and Class Members’ privacy interests.
 5           121. The disclosure of the sensitive and confidential PII of hundreds of
 6 thousands of employees, was highly offensive to Plaintiff and Class Members
 7 because it violated expectations of privacy that have been established by general
 8 social norms, including by granting access to information and data that is private and
 9 would not otherwise be disclosed.
10           122. UKG’s conduct would be highly offensive to a reasonable person in
11 that it violated statutory and regulatory protections designed to protect highly
12 sensitive information, in addition to social norms. UKG’s conduct would be
13 especially egregious to a reasonable person as UKG publicly disclosed Plaintiff’s
14 and Class Members’ sensitive and confidential PII, including but not limited to
15 name, company name, address, email address, time and attendance and schedule
16 information, and Social Security Numbers, without their consent, to an
17 “unauthorized person,” i.e., hackers.
18           123. As a result of UKG’s actions, Plaintiff and Class Members have
19 suffered harm and injury, including but not limited to an invasion of their privacy
20 rights.
21           124. Plaintiff and Class Members have been damaged as a direct and
22 proximate result of UKG’s intrusion upon seclusion and are entitled to just
23 compensation.
24           125. Plaintiff and Class Members are entitled to appropriate relief, including
25 compensatory damages for the harm to their privacy, loss of valuable rights and
26 protections, and heightened risk of future invasions of privacy.
27                                        COUNT V
28                                INVASION OF PRIVACY
                                               29
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.31 Page 31 of 43




 1             ART. I, SEC 1 OF THE CALIFORNIA CONSTITUTION
 2 (On behalf of the Nationwide and California Data Breach Class and Subclass)
 3         126. Plaintiff re-alleges and incorporates by reference all preceding
 4 allegations as if fully set forth herein.
 5         127. Art. I, § 1 of the California Constitution provides: “All people are by
 6 nature free and independent and have inalienable rights. Among these are enjoying
 7 and defending life and liberty, acquiring, possessing, and protecting property, and
 8 pursuing and obtaining safety, happiness, and privacy.” Art. I, § 1, Cal. Const.
 9         128. The right to privacy in California’s constitution creates a private right
10 of action against private and government entities.
11         129. To state a claim for invasion of privacy under the California
12 Constitution, a plaintiff must establish: (1) a legally protected privacy interest; (2) a
13 reasonable expectation of privacy; and (3) an intrusion so serious in nature, scope,
14 and actual or potential impact as to constitute an egregious breach of the social
15 norms.
16         130. UKG violated Plaintiff’s and Class Members’ constitutional right to
17 privacy by collecting, storing, and disclosing their PII in which they had a legally
18 protected privacy interest, and in which they had a reasonable expectation of privacy
19 in, in a manner that was highly offensive to Plaintiff and Class Members, would be
20 highly offensive to a reasonable person, and was an egregious violation of social
21 norms.
22         131. UKG has intruded upon Plaintiff’s and Class Members’ legally
23 protected privacy interests, including interests in precluding the dissemination or
24 misuse of their confidential PII.
25         132. UKG’s actions constituted a serious invasion of privacy that would be
26 highly offensive to a reasonable person in that: (i) the invasion occurred within a
27 zone of privacy protected by the California Constitution, namely the misuse of
28 information gathered for an improper purpose; and (ii) the invasion deprived
                                               30
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.32 Page 32 of 43




 1 Plaintiff and Class Members of the ability to control the circulation of their PII,
 2 which is considered fundamental to the right to privacy.
 3         133. Plaintiff and Class Members had a reasonable expectation of privacy in
 4 that: (i) UKG’s invasion of privacy occurred as a result of UKG’s security practices
 5 including the collecting, storage, and unauthorized disclosure of its customers’
 6 employees’ PII; (ii) Plaintiff and Class Members did not consent or otherwise
 7 authorize UKG to disclosure their PII; and (iii) Plaintiff and Class Members could
 8 not reasonably expect UKG would commit acts in violation of laws protecting
 9 privacy.
10         134. As a result of UKG’s actions, Plaintiff and Class Members have been
11 damaged as a direct and proximate result of UKG’s invasion of their privacy and are
12 entitled to just compensation.
13         135. Plaintiff and Class Members suffered actual and concrete injury as a
14 result of UKG’s violations of their privacy interests. Plaintiff and Class Members
15 are entitled to appropriate relief, including damages to compensate them for the harm
16 to their privacy interests, loss of valuable rights and protections, heightened risk of
17 future invasions of privacy, and the mental and emotional distress and harm to
18 human dignity interests caused by Defendant’s invasions.
19         136. Plaintiff and the Class seek appropriate relief for that injury, including
20 but not limited to damages that will reasonably compensate Plaintiff and Class
21 Members for the harm to their privacy interests as well as disgorgement of profits
22 made by UKG as a result of its intrusions upon Plaintiff’s and Class Members’
23 privacy.
24                                      COUNT VI
25    Violation of the California Consumer Privacy Act, Cal. Civ. Code §§1798.100
26                                         et seq.)
27                 (On behalf of the California Data Breach Subclass)
28         137. Plaintiff re-alleges and incorporates by reference all preceding
                                              31
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.33 Page 33 of 43




 1 allegations as if fully set forth herein.
 2          138. The California Consumer Privacy Act (“CCPA”), Cal. Civ. Code §
 3 1798.150(a), creates a private cause of action for violations of the CCPA. Section
 4 1798.150(a) specifically provides:
 5
 6          Any consumer whose nonencrypted and nonredacted PII, as defined in
            subparagraph (A) of paragraph (1) of subdivision (d) of Section
 7          1798.81.5, is subject to an unauthorized access and exfiltration, theft,
 8          or disclosure as a result of the business’s violation of the duty to
            implement and maintain reasonable security procedures and practices
 9
            appropriate to the nature of the information to protect the personal
10          information may institute a civil action for any of the following:
11          (A) To recover damages in an amount not less than one hundred dollars ($100)
12          and not greater than seven hundred and fifty ($750) per consumer per incident
13          or actual damages, whichever is greater.
14          (B) Injunctive or declaratory relief.
15          (C) Any other relief the court deems proper.
16
            139. UKG is a “business” under § 1798.140(b) in that it is a corporation
17
      organized for profit or financial benefit of its shareholders or other owners, with
18
      gross revenue in excess of $25 million. Indeed, its revenue reaches into the many
19
      billions per year.
20
            140. Plaintiff and Class Members are covered “consumers” under §
21
      1798.140(g) in that they are natural persons who are California residents.
22
            141. The PII of Plaintiff and Class Members at issue in this lawsuit
23
      constitutes “personal information” under § 1798.150(a) and 1798.81.5, in that the
24
      PII UKG collects and which was impacted by the data breach includes an
25
      individual’s first name or first initial and the individual’s last name in combination
26
      with one or more of the following data elements, with either the name or the data
27
      elements not encrypted or redacted: (i) Social security number; (ii) Driver’s license
28
      number, California identification card number, tax identification number, passport
                                              32
                                                             CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.34 Page 34 of 43




 1 number, military identification number, or other unique identification number issued
 2 on a government document commonly used to verify the identity of a specific
 3 individual; (iii) account number or credit or debit card number, in combination with
 4 any required security code, access code, or password that would permit access to an
 5 individual’s financial account; (iv) medical information; (v) health insurance
 6 information; (vi) unique biometric data generated from measurements or technical
 7 analysis of human body characteristics, such as a fingerprint, retina, or iris image,
 8 used to authenticate a specific individual.
 9         142. UKG knew or should have known that its computer systems and data
10 security practices were inadequate to safeguard the Plaintiff’s and Class Members’
11 PII and that the risk of a data breach or theft was highly likely. UKG failed to
12 implement and maintain reasonable security procedures and practices appropriate to
13 the nature of the information to protect the PII of Plaintiff and the Class Members.
14 Specifically, UKG subjected Plaintiff’s and Class Members’ nonencrypted and
15 nonredacted PII to an unauthorized access and exfiltration, theft, or disclosure as a
16 result of the UKG’s violation of the duty to implement and maintain reasonable
17 security procedures and practices appropriate to the nature of the information, as
18 described herein.
19         143. As a direct and proximate result of UKG’s violation of its duty, the
20 unauthorized access and exfiltration, theft, or disclosure of Plaintiff’s and Class
21 Members’ PII included exfiltration, theft, or disclosure through UKG’s servers,
22 systems, and website, and/or the dark web, where hackers further disclosed UKG’s
23 customers’ and their employees’ PII.
24         144. As a direct and proximate result of UKG’s acts, Plaintiff and Class
25 Members were injured and lost money or property, including but not limited to lost
26 wages due to the disabling of their payroll and timekeeping services, the loss of
27 Plaintiff’ and the Class Members’ legally protected interest in the confidentiality and
28 privacy of their PII, nominal damages, and additional losses described above.
                                             33
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.35 Page 35 of 43




 1         145. Section 1798.150(b) specifically provides that “[n]o [prefiling] notice
 2 shall be required prior to an individual consumer initiating an action solely for actual
 3 pecuniary damages.” Accordingly, Plaintiff and Class Members by way of this
 4 Complaint seek actual pecuniary damages suffered as a result of UKG’s violations
 5 described herein. Plaintiff has issued a notice of these alleged violations pursuant to
 6 § 1798.150(b) and intends to amend this Complaint to seek statutory damages and
 7 injunctive relief upon expiration of the 30-day cure period pursuant to §
 8 1798(a)(1)(A)-(B), (a)(2), and (b).
 9                                       COUNT VII
10     VIOLATION OF THE CALIFORNIA CUSTOMER RECORDS ACT, Cal.
11                              Civ. Code §§ 1798.80 et seq.,
12                 (On Behalf of the California Data Breach Subclass)
13         146. Plaintiff re-alleges and incorporates by reference all preceding
14 allegations as if fully set forth herein.
15         147. Cal. Civ. Code § 1798.81.5 provides that “[i]t is the intent of the
16 Legislature to ensure that PII about California residents is protected. To that end, the
17 purpose of this section is to encourage businesses that own, license, or maintain PII
18 about Californians to provide reasonable security for that information.”
19         148. Section 1798.81.5(b) further states that: “[a] business that owns,
20 licenses, or maintains PII about a California resident shall implement and maintain
21 reasonable security procedures and practices appropriate to the nature of the
22 information, to protect the PII from unauthorized access, destruction, use,
23 modification, or disclosure.”
24         149. Cal. Civ. Code § 1798.84(b) provides that [a]ny customer injured by a
25 violation of this title may institute a civil action to recover damages.” Section
26 1798.84(e) further provides that “[a]ny business that violates, proposes to violate, or
27 has violated this title may be enjoined.”
28         150. Plaintiff and Class Members are “customers” within the meaning of
                                               34
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.36 Page 36 of 43




 1 Civ. Code § 1798.80(c) and 1798.84(b) because they are individuals who provided
 2 PII to UKG, directly and/or indirectly through their employers, for the purpose of
 3 obtaining a service from UKG.
 4         151. The PII of Plaintiff and Class Members’ at issue in this lawsuit
 5 constitutes “personal information” under § 1798.81.5(d)(1) in that the PII UKG
 6 collects and which was impacted by the data breach includes an individual’s first
 7 name or first initial and the individual’s last name in combination with one or more
 8 of the following data elements, with either the name or the data elements not
 9 encrypted or redacted: (i) Social security number; (ii) Driver’s license number,
10 California identification card number, tax identification number, passport number,
11 military identification number, or other unique identification number issued on a
12 government document commonly used to verify the identity of a specific individual;
13 (iii) account number or credit or debit card number, in combination with any required
14 security code, access code, or password that would permit access to an individual’s
15 financial account; (iv) medical information; (v) health insurance information; (vi)
16 unique biometric data generated from measurements or technical analysis of human
17 body characteristics, such as a fingerprint, retina, or iris image, used to authenticate
18 a specific individual.
19         152. UKG knew or should have known that its computer systems and data
20 security practices were inadequate to safeguard Plaintiff’s and Class Members’ PII
21 and that the risk of a data breach or theft was highly likely. UKG failed to implement
22 and maintain reasonable security procedures and practices appropriate to the nature
23 of the information to protect the PII of Plaintiff and Class Members. Specifically,
24 UKG failed to implement and maintain reasonable security procedures and practices
25 appropriate to the nature of the information, to protect the PII of Plaintiff and Class
26 Members from unauthorized access, destruction, use, modification, or disclosure.
27 UKG further subjected Plaintiff’s and Class Members’ nonencrypted and
28 nonredacted PII to an unauthorized access and exfiltration, theft, or disclosure as a
                                              35
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.37 Page 37 of 43




 1 result of the UKG’s violation of the duty to implement and maintain reasonable
 2 security procedures and practices appropriate to the nature of the information, as
 3 described herein.
 4         153. As a direct and proximate result of UKG’s violation of its duty, the
 5 unauthorized access, destruction, use, modification, or disclosure of the PII of
 6 Plaintiff and the Class Members included hackers’ access to, removal, deletion,
 7 destruction, use, modification, disabling, disclosure and/or conversion of the PII of
 8 Plaintiff and Class Membersby the ransomware attackers and/or additional
 9 unauthorized third parties to whom those cybercriminals sold and/or otherwise
10 transmitted the information.
11         154. As a direct and proximate result of UKG’s acts or omissions, Plaintiff
12 and Class Members were injured and lost money or property, including but not
13 limited to lost wages due to the disabling of their payroll and timekeeping services,
14 the loss of Plaintiff’s and Class Members’legally protected interest in the
15 confidentiality and privacy of their PII, nominal damages, and additional losses
16 described above. Plaintiff seeks compensatory damages as well as injunctive relief
17 pursuant to Cal. Civ. Code § 1798.84(b).
18                                       COUNT VIII
19      VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
20                        Cal. Bus. & Prof. Code § 17200, et seq.
21         (On Behalf of the California Data Breach and Payroll Subclasses)
22         155. Plaintiff re-alleges and incorporates by reference all preceding
23 allegations as if fully set forth herein.
24         156. UKG is a “person” as defined by Cal. Bus. & Prof. Code §17201.
25         157. UKG violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”) by
26 engaging in unlawful, unfair, and deceptive business acts and practices.
27         158. UKG’s business acts and practices are “unlawful” under the Unfair
28 Competition Law, Cal. Bus. & Prof. Code §§ 17200 et. seq. (“UCL”), because, as
                                               36
                                                            CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.38 Page 38 of 43




 1 alleged above, UKG violated the California common law, California Constitution,
 2 and the other state and federal statutes and causes of action described herein.
 3         159. UKG’s business acts and practices are “unfair” under the UCL,
 4 because, as alleged above, California has a strong public policy of protecting
 5 individuals’ privacy interests, including protecting individuals’ personal data. UKG
 6 violated this public policy by, among other things, engaging in unfair business
 7 practices because it made material misrepresentations and omissions concerning the
 8 information that UKG assured patients it would protect their highly sensitive and
 9 confidential e-PHI, which deceived and misled patients. UKG’s conduct violates the
10 policies of the statutes referenced herein.
11         160. UKG’s business acts and practices are also “unfair” in that they are
12 immoral, unethical, oppressive, unscrupulous, and/or substantially injurious to
13 consumers. The gravity of the harm of UKG’s collecting, storing, disclosing, and
14 otherwise misusing Plaintiff’s and Class Members’ PII is significant, and there is no
15 corresponding benefit resulting from such conduct. Finally, because Plaintiff and
16 Class Members were completely unaware of UKG’s conduct, they could not have
17 possibly avoided the harm.
18         161. UKG’s business acts and practices are also “fraudulent” within the
19 meaning of the UCL. UKG misrepresented that it maintained sufficient data security
20 measures and systems to protect Plaintiff’s and Class Members’ PII. UKG never
21 disclosed that these practices were severely deficient.
22         162. UKG’s unlawful, unfair, and deceptive acts and practices include:
23         (a)   Failing to implement and maintain reasonable security and privacy
24               measures to protect Plaintiff’s and Class Members’ PII, which was a
25               direct and proximate cause of the data breach and omitting,
26               suppressing, and concealing the material fact of that failure;
27         (b)   Failing to identify foreseeable security and privacy risks, remediate
28               identified security and privacy risks, and adequately improve
                                             37
                                                             CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.39 Page 39 of 43




 1               security and privacy measures following well-publicized
 2               cybersecurity incidents, which was a direct and proximate cause of
 3               the data breach and omitting, suppressing, and concealing the
 4               material fact of that failure;
 5         (c)   Failing to comply with common law and statutory duties pertaining
 6               to the security and privacy of Plaintiff’s and Class Members’ PII,
 7               including duties imposed by the FTC Act, and CIPA, which was a
 8               direct and proximate cause of the data breach and omitting,
 9               suppressing, and concealing the material fact of that failure;
10         (d)   Misrepresenting that it would protect the privacy and confidentiality
11               of Plaintiff’s and Class Members’ PII, including by implementing
12               and maintaining reasonable security measures;
13         (e)   Misrepresenting that it would comply with common law and
14               statutory duties pertaining to the security and privacy of Plaintiff’s
15               and Class Members’ PII, including duties imposed by the FTC Act
16               and CIPA;
17         (f)   Omitting, suppressing, and concealing the material fact that it did not
18               reasonably or adequately secure Plaintiff’s and Class Members’ PII;
19               and
20         (g)   Omitting, suppressing, and concealing the material fact that it did not
21               comply with common law and statutory duties pertaining to the
22               security and privacy of Plaintiff’s and Class Members’ PII, including
23               duties imposed by the FTC Act and CIPA.
24         163. UKG’s representations and omissions were material because they
25 were likely to deceive reasonable consumers about the adequacy of UKG’s data
26 security and ability to protect the confidentiality of Plaintiff’s and Class Members’
27 PII.
28         164. As a direct and proximate result of UKG’s unfair, unlawful, and
                                              38
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.40 Page 40 of 43




 1 fraudulent acts and practices, Plaintiff and Plaintiff’s and Class Members were
 2 injured and lost money or property, i.e., lost wages, which would not have occurred
 3 but for the unfair and deceptive acts, practices, and omissions alleged herein, as
 4 well as the costs passed through from UKG to its customers and their employees
 5 for their timekeeping and payroll services; fees and interest incurred as a result of
 6 the loss of wages; time and expenses related to tracking the amount of said lost
 7 wages; costs to be spent for credit monitoring and identity protection services; time
 8 and expenses related to monitoring their financial accounts for fraudulent activity;
 9 loss of value of their PII; and an increased, imminent risk of fraud and identity
10 theft.
11          165. UKG’s violations were, and are, willful, deceptive, unfair, and
12 unconscionable.
13          166. Plaintiff and Class Members have lost money and property as a result
14 of UKG’s conduct in violation of the UCL, as stated in herein and above.
15          167. By deceptively storing, collecting, and disclosing their PII, UKG has
16 taken money or property from Plaintiff and Class Members.
17          168. Plaintiff and Class Members seek all monetary and non-monetary
18 relief allowed by law, including compensatory damages; restitution; disgorgement;
19 punitive damages; injunctive relief; and reasonable attorneys’ fees and costs.
20                                        COUNT IX
21      REQUEST FOR RELIEF UNDER THE DECLARATORY JUDGMENT
22                                             ACT
23                                 28 U.S.C. § 2201, et seq.
24                                (On Behalf of all Classes)
25          169. Plaintiff re-alleges and incorporates by reference all preceding
26 allegations as if fully set forth herein.
27          170. Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this
28 Court is authorized to enter a judgment declaring the rights and legal relations of the
                                               39
                                                               CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.41 Page 41 of 43




 1 parties and grant further necessary relief. Furthermore, the Court has broad authority
 2 to restrain acts, such as here, that are tortious and violate the terms of the statutes
 3 described in this Complaint.
 4         171. An actual controversy has arisen in the wake of the data breach
 5 regarding UKG’S present and prospective common law and statutory duties to
 6 reasonably safeguard Plaintiff and Class Members’ personal informaiton and
 7 whether UKG is currently maintaining data security measures adequate to protect
 8 Plaintiff and Class Members from further data breaches. Plaintiff alleges that UKG’s
 9 data security practices remain inadequate.
10         172. Plaintiff and Class Members continue to suffer injury as a result of the
11 compromise of PII and remain at imminent risk that further compromises of their
12 PII will occur in the future.
13         173. Pursuant to its authority under the Declaratory Judgment Act, this Court
14 should enter a judgment declaring that UKG continues to owe a legal duty to secure
15 consumers’ PII, to timely notify Plaintiff and Class Members of any data breach, and
16 to establish and implement data security measures that are adequate to secure
17 Plaintiff and Class Members’ PII.
18         174. The Court also should issue corresponding prospective injunctive relief
19 requiring UKG to employ adequate security protocols consistent with law and
20 industry standards to protect Plaintiff and Class Members’ PII.
21         175. If an injunction is not issued, Plaintiff and Class Members will suffer
22 irreparable injury, for which they lack an adequate legal remedy. The threat of
23 another data breach is real, immediate, and substantial. If another breach at UKG
24 occurs, Plaintiff and Class Members will not have an adequate remedy at law,
25 because many of the resulting injuries are not readily quantified and they will be
26 forced to bring multiple lawsuits to rectify the same conduct.
27         176. The hardship to Plaintiff and Class Members if an injunction does not
28 issue greatly exceeds the hardship to UKG if an injunction is issued. If another data
                                             40
                                                              CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.42 Page 42 of 43




 1 breach occurs at UKG, Plaintiff and Class Members will likely be subjected to
 2 substantial identify theft and other damages. On the other hand, the cost to UKG of
 3 complying with an injunction by employing reasonable prospective data security
 4 measures is relatively minimal, and UKG has a pre-existing legal obligation to
 5 employ such measures.
 6         177. Issuance of the requested injunction will serve the public interest by
 7 preventing another data breach at UKG, thus eliminating the additional injuries that
 8 would result to Plaintiff and the millions of consumers whose confidential
 9 information would be further compromised.
10                                 RELIEF REQUESTED
11         Plaintiff, on behalf of all others similarly situated, requests that the Court enter
12 judgment against Defendants including the following:
13         A.    Determining that this matter may proceed as a class action and
14               certifying the Class asserted herein;
15         B.     Appointing Plaintiff as representative of the applicable Classes and
16                appointing Plaintiff’s counsel as Class counsel;
17         C.     An award to Plaintiff and the Class of compensatory, consequential,
18                nominal, statutory, and treble damages as set forth above;
19         D.     Ordering injunctive relief requiring Defendants to, among other things:
20                (i) strengthen its data security systems and monitoring procedures; (ii)
21                submit to future annual audits of those systems; (iii) provide several
22                years of free credit monitoring and identity theft insurance to all Class
23                Members; and (iv) timely notify consumers of any future data breaches;
24         E.     Entering a declaratory judgment stating that Defendants owe a legal
25                duty to secure Plaintiff’s and Class Members’ PII and data, to timely
26                notify Plaintiff and Class Members of any data breach, and to establish
27                and implement data security measures that are adequate to secure their
28                PII and data;
                                                41
                                                                 CLASS ACTION COMPLAINT
     Case 3:22-cv-00289-GPC-WVG Document 1 Filed 03/04/22 PageID.43 Page 43 of 43




 1         F.    An award of attorneys’ fees, costs, and expenses, as provided by law or
 2               equity;
 3         G.    An award of pre-judgment and post-judgment interest, as provided by
 4               law or equity; and
 5         H.    Such other relief as the Court may allow.
 6                             DEMAND FOR JURY TRIAL
 7         Plaintiff demands a trial by jury for all issues so triable.
 8
      Dated: March 4, 2022                   /s/ Ronald A. Marron _______
 9                                           Ronald A. Marron (175650)
10                                           Alexis M. Wood (270200)
11                                           Kas L. Gallucci (288709)
                                             Elisa Pineda (328285)
12                                           LAW OFFICES OF RONALD A.
13                                                  MARRON
                                             651 Arroyo Drive
14                                           San Diego, CA 92103
15                                           Tel: (619) 696-9006
                                             Fax: (619) 564-6665
16
                                             ron@consumersadvocates.com
17                                           alexis@consumersadvocates.com
18                                           kas@consumersadvocates.com
                                             elisa@consumersadvocates.com
19
20
                                             Attorneys for Plaintiff and the Proposed
21
                                                   Classes
22
23
24
25
26
27
28
                                               42
                                                                CLASS ACTION COMPLAINT
